Case 1:21-cr-00153-RBW Document 42 Filed 03/08/22 Page1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 21-153 (RBW)
DANIEL GOODWYN,
Defendant.
)
ORDER

Upon consideration of the Defendant Daniel Goodwyn’s Motion to Modify Bond
Conditions, ECF No. 41, and for good cause shown, it is hereby
ORDERED that the Defendant Daniel Goodwyn’s Motion to Modify Bond Conditions,
ECF No. 41, is GRANTED. It is further
ORDERED that the March 12, 2021 Order, ECF No. 12, is MODIFIED as follows:
1. The defendant shall no longer be required to submit to location monitoring.
2. From March 19, 2022, to March 23, 2022, the defendant shall be placed in the
custody of Christopher Goodwyn.
It is further
ORDERED that the Government’s Motion to Revoke Defendant’s Pretrial Release, ECF
No. 22, is DENIED WITHOUT PREJUDICE.

SO ORDERED this 7th day of March, 2022.

  

yb NA

REGGIE B. WALTON
United States District Court Judge
